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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  717 MADISON PLACE, N.W.
                                  WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                              CLERK’S OFFICE
  CLERK OF COURT                                                                 202-275-8000


                         2025-1373 - 112 Genesee Street, LLC v. US

  NOTICE TO ADVISE OF SCHEDULING CONFLICTS OF ARGUING COUNSEL

Within seven days of this notice, arguing counsel must file a completed Response to Notice
to Advise of Scheduling Conflicts advising of any scheduling conflicts during the following
upcoming court session months: 2025: August, September, October, November,
December 2026: January. Non-arguing counsel should not advise of scheduling conflicts.
In the event the matter is not scheduled within the next six (6) court sessions, counsel are
reminded of their continuing obligation to report any additional scheduling conflicts or
changes to existing scheduling conflicts that may arise until the matter is formally
calendared. See Fed. Cir. R. 34(d)(2).

Calendar of Sessions. Arguing counsel should review the Calendar of Sessions on the
court's website for the specific dates of each session. Please only advise of conflicts with
scheduled court dates and not dates when the court is not scheduled to sit.

Limitation on Conflicts. To ensure the timely scheduling of argument in this case,
arguing counsel is limited to identifying scheduling conflicts for only ten days. Arguing
counsel must also show good cause for each identified date. Conflicts without a sufficient
showing of good cause will not be considered. Counsel is advised that the unavailability of a
client or non-arguing counsel is an insufficient basis for showing good cause. Please review
the Guidance on Oral Argument Scheduling Conflicts on the court's website.

                                                     FOR THE COURT

May 29, 2025




                                                     By: M. Ames, Deputy Clerk
